1@

     (official               For

                                                                                             United States Bankruptcy Court                                                                                                                                                                                                                                       Voluntary Petition
                                                                                                                               District of Arizona
                                                                                                                                                                                                                                                                                (Spouse)                 (Last,              Fi            t,        Middle):
                                                                                   enter-Cast,                    First,       Middle):
                                                                                                                                                                                                                        Nai@c        of-Joint               Debtor
Name     of Debtor (if individual,
     DAY, MICHELE

                                                                                                                                                                                                                                                                   u-sed                                                          im                 n       the last                     years
                                                                                                                                                                                                                        All Other Names                                                        the                           c
                                                                                                                                                                                                                                                                                 t)               J out
All Other Names                          used by                t    e     btor in the last                                8    years
                                                                                                                                                                                                                                                                   maiden,                     and trade                names):
                                                                                                                                                                                                                        (include married,
(include married,                        maiden,                    and trade names):
                                                                                                                                                                                                                                                                   12-16376

                                                                                                                                                                                                                                                                                                                                                                                             11    TIN)         No./Complete            EIN
                                                                                                                                                                                                                                                                                                                                                                                    I.E.
                                                                                                           al-Taxpayer                    I.D. (ITIN)               No./Complete                          EIN           Last four digits                       of Soc. Sec. or Inaivi                                                  -                 a:-
Last four di                         o          oc.        Sec. or I div                                                                                                                                                (if more       than    one,        state   all)
(ifmorethanon                     stateall)

     xxx-xx-3704                                                                                                                                                                                                                                                     I                                        i                        S
                                                                                                                                                                                                                                                                                                                                                             I,                      a    id State
                                                                                                                                              late):                                                                        Street     Address                of j it, t E                           i   It                                     it
                                                                                                                                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                                                                                                                                         c


Street        Address                of Debtor                           o
                                                                              .


     8832 E PUEBLO                                         AVE                         UE             Jh 8(1
     Mesa, AZ                                                                                                                                                                                                                                                                                                                                                                                                                ZIP Code
                                                                                                                                                                                        ZIP Code
                                                                                                                                                                              F85208                                                                                                                                                                                                                                 F
                                                                                                                                                                                                                                                                                          of the         I    inwipal                  Place                      01'Business:
                                                                                                                                                                                                                            County           ofResidenco                        Di

County                of R.        s idence           or    o        t       e          r             al      Place        of Business:

     Maricopa
                                                                                                                                                                                                                            Mailing           Address              o7cint                      E ebtoi            (it   jutciont                              front            -1        @ 2 @      dress
                      AdT C _s                    Debtor                 (if                    rent
                                                                                                            It
                                                                                                                 orn   street            ad      ress
Mailing                                    Di




                                                                                                                                                                                                                                                                                                                                                                                                                                ZIP Code
                                                                                                                                                                                        ZIP         C


                                                                                                                                                                              E
 Location     of Principal Assets of Business                                                                    Debtor
 (if different from street address above):


                                                                                                                                                                                                                                                                                 Chapter of Bankruptcy      Code Under Which
                                                                                                                                                              Nature               of Business
                                         Type of Debtor                                                                                                                                                                                                                              the Petition is Filed (Check one box)
                                                                                                                                                                    (Check           one          box)
                  (Form         of Organization)                             (Check              one box)
                                                                                                                                                                                                                                                      Chapter               7
                    (includes    Joint Debtors)
                                                                                                                                     El         Health         Care Business
        Individual                                                                                                                                                                                                                                                                                                               El             Chapter                      15          Petition          for Recognition
        See Exhibit D on page 2 ofthisfiorm.                                                                                         El         Single         Asset Real Estate                              as defined                      [I Chapter                    9

                                                                                                                                                       I   I U. S.C.           §   10    1    (5 1 B)                                                                                                                                       of a Foreign                                  Main        Proceeding
                                                                                                                                                in
     El Corporation    (includes    LLC and LLP)                                                                                                                                                                                              El      Chapter               II
                                                                                                                                         El     Railroad                                                                                      El                            12
                                                                                                                                                                                                                                                                                                                                 11             Chapter                      15          Petition for Recognition
            Partnership                                                                                                                                                                                                                               Chapter
                                                                                                                                         [I Stockbroker                                                                                                                     13                                                                  of a Foreign                              Nonmain    Proceeding
     El                                          is   not one of the above entities,                                                                                                                                                          El      Chapter
            Other            (If debtor                                                                                                                                       Broker
                                                                                                                                                Commodity
            check           this box       and        state type of entity below.)
                                                                                                                                                Clearing            Bank
                                                                                                                                         El     Other                                                                                                                                                                        Nature                          of Debts
                                                                                                                                                                                                                                                                                                                                 (Check                      one box)
                                     Cha          ter 15 Debtors                                                                                                                                        ntity
                                                                                                                                                              Tax-Exempt                                                                                                                     debts,                                                                                                         Debts      are primarily
     Country               of debtor's           center         of main                     interests:                                                                                                                                                Debts    are primarily    consumer
                                                                                                                                                             (Check           box,      if applicable)                                                                                                                                                                                                      business      debts.
                                                                                                                                                                                                                                                      defined     in II U. S.C. § 10 1 (8) as
                                                                                                                                         El     Debtor         is   a    tax-exempt     organization                                                                                                for
                                                                                   proceeding                                                                                                                                                         "incurred     by an individual     primarily
     Each country                   in which a foreign
                                                                                                                                                 under Title             26    of the United States
     by, regarding,                  or against debtor                            is pending:                                                                                                                                                         a personal,     family,  or household purpose."
                                                                                                                                                 Code        (the       Internal        Revenue               Code).

                                                                                                                                                                                                                                                                                                Chapter                 11             e             tors
                                                        Filing                         ee     (Check              one box)                                                                         Check        one box
                                                                                                                                                                                                                                                                                                                                      U.S.C.                      §    101      (5 ID).
                                                                                                                                                                                                                                is a small business   debtor as defined in                                                   I I


                       Filing        Fee        attached
                                                                                                                                                                                                         0      Debtor
                                                                                                                                                                                                                                                                                                                                                         U.S.C.            §        101    (5 ID).
             Full                                                                                                                                                                                        El     Debtor          is not a small business   debtor as defined                                                      in        I I



                                                                              to individuals     only). Must
                                                                                                      (applicable
             Filing          Fee to be paid in installments                                                                                                                                         Check        if                                                                                                                                                                                                          or affiliates)
                                                                                      certifying   that the                                                                                                                                                                                     liquidated              debts              (excluding                           debts        owed          to insiders
             attach          signed application   for the court's consideration                                                                                                                          [3     Debtor's   aggregate   noncontingent
                                                            in installments.     Rule 1006(b).      See Official                                                                                                                             (amount                                           subject        to adjustment                                  on       4,   01       J3 and every three years thereafter).
             debtor           is unable to pay fee except                                                                                                                                                       are less than $2,343,300
             Form           3A.                                                                                                                                                                     Check        all    applicable            boxes:
                                                                                                                                                                only).         Must                                                                filed      with        this petition.
             Filing          Fee waiver   requested     (applicable                                             to chapter
                                                                                                                                 7       individuals
                                                                                                                                                                                     3B.
                                                                                                                                                                                                         0      A      plan     is   being
                                                                                                                                                                                                                                                                                                         prepetition                   from                   one          or more               classes        of creditors,
                             signed application     for the court's                                             consideration.                 See Official             Form                                    Acceptances                  of the plan were                        solicited
             attach
     V,17                                                                                                                                                                                                       in accordance                 with II U.S.C.                         §     I   126(b).

                                                                                                                                                                                                                                                                                                                                      THIS                    SPA                    IS     FOR       COURT            USE      ONLY
     StatisticallAdministrative                                                   In          rma           on
                                                                   for distribution                                                                                           to unsecured                    creditors.
                                 that funds will be available
                                  estimates
          0 Debtor                                                      is excluded                                                                                           and administrative                             expenses              paid,
             Debtor   estimates  that, after  any exempt    property
                                       available  for distribution    to  unsecured                                                                                           creditors.
             there  will  be no funds

      Estimated                Number                 of Creditors                                                                                                                           11                        11                      11                           El                                                                                                                         c-
                                                                                                         11                       13                           11
                                         El                              El
                                                                                                                                                                                             10,001-                   25,001-                 50,001-                      OVER
                                                                         100-                              200-                      1 000-                     5,001-
              I                          50-                                                                                         5:000                                                                             50,000                  100,000                      100,000
                  -
                                                                                                                                                                10,000                       25,000
              49                         99                              199                               999

                                                                                                                                                                                                                                                                                                                                                                                                           C)          r@_
      Estimated                 Assets                                                                                                                                                       11                        11                      El                           El
                                                                                                           11                     11                           11
                                                                         El
              E                          [I                                                                                                                     $10,000,001                  $50,000,001               $100,000        001     $500,000,001                 M ore than
                                                                         $100,001                          $500,001                  $1,000,001
              $0                         $50,001           to                                   to                                                                                                                                             to $1 billion
                                                                                                                                                                                                                                                                            $1 billion
                  to
                                                                                                                                                                to $50                       to $100                   to $500
              $ 50,000                   $100,000                        $500,000                          to $1                     to $10
                                                                                                                                                                million                      million                   million                                                                                                                                                                                                                V
                                                                                                           million                   million


          Estimate                                ies                                                                                                                                                                                                                       El
                                                                         13
                                                                                                                                                                                                                       11
                                                                                                                                                                                                                                               0                                                                                                                                                                C.
              El                         E                                   $100,001            to        $500,001                  $1,000,001                 $10,000,001                   $50,000,001               $100,000,001           $500,000,001                     more          than
                                                                                                                                                                                                                                                                                         billion
                                     Case 2:12-bk-16376-GBN
                                           $50,001
                                                                                                                                                                Doc 1 Filed 07/23/12 Entered 07/23/12 10:25:37                                                                                                                                                                                                       Desc
                                                                                                                                                                                                                                                                                $1
              $0      to                                   to
                                                                                                                                                                                             to $100                    to $500                to $1 billion
                                                                             $500,000                      to $1                     to $10                     to $50
                  $ 50,000                 $1(0,000                                                                                                                                                                     million
                                                                                                                                     million                    million                      million
                                                                                                           million
                                                                                                                                                                   Pleading Page 1 of 5
                                                                                                                                                                                                                                                                                           2
                                                                                                                                                                                                                                                                                    Page
I   (Official     Form         1)(12111)
                                                                                                                                                 Name ol Uen r(s):
Voluntary Petition                                                                                                                                  DAY, MICHELE

                                                            andfiled        in every         case)
(This page must be completed
                                                                                                                                       than                                                                 attach     additional             sheet)
                                                    All    Prior Bankruptcy                   Cases Filed Within Last 8 Years (If more                                                           two,

                                                                                                                                                 Case Number:                                                              Date Filed:
Location
Where Filed:               -   None        -
                                                                                                                                                 Case Number:                                                                  Date Filed:
Location
Where Filed:
                                                                                                                                                                                                                                                                        sheet)
                                                                                                                                                                    of this Debtor                   (If more than one, attach additional
                   Pending             Bankruptcy                   Case Filed          by    any Spouse, Partner, or Affiliate
                                                                                                                                                 Case Number:                                                                  Date Filed:
Name     of Debtor:
    - None  -
                                                                                                                                                 Relationship:
                                                                                                                                                                                                                               J   udge:
District:

                                                                                                                                                                                                                       Exhibit         B
                                                                Exhibit A                                                                                                                                                  whose        debts     are primarily     consumer     debts.)
                                                                                                                                                      (To       be completed            if debtor     is   an individual

                                                                                                                                                                                                named in the foregoing        petition, declare that I
                                                                                                                                                     1, the attorney   for the petitioner
    (To be completed       if debtor is required to file periodic reports (e.g.,                                                                                        the petitioner     that   [he  or she]  may   proceed     under chapter 7, 1 1,
                                                                     Commission                                                                      have informed
    forms   I OK  and  I OQ)   with the Securities and Exchange                                                                                       12, or 13 of title   I 1, United    States    Code,   and  have  explained      the relief available
                                                   Securities Exchange   Act of 1934                                                                                                               certify that I delivered     to the debtor the notice
    pursuant to Section 13 or 15(d) of the
                                                                                                                                                                                      I further
                                                                                                                                                     under each such chapter.
                                 under  chapter   I 1.)                                                                                                                                             §342(b).
    and  is requesting    relief                                                                                                                      required            by    I   I   U.S.C.


      El    Exhibit        A       is attached            and made         a   part of this petition.                                                 X                                                                                                  (Date)
                                                                                                                                                                Signature           of Atto         ey for Debtor(s)




                                                                                                                                       Exhibit          C
                                                                                                                                                                                                    and identifiable           harm      to     public    health    or safety?
                                                                                                     that poses      or   is    alleged     to   pose       a    threat        of imminent
    Does    the debtor             own or have            possession      of any property

            Yes, and Exhibit             C     is    attached       and made        a   part of this petition.

            No.

                                                                                                                                          Exhibit       D

                                                                                                                                                                                                           and attach              separate       Exhibit         D.)
                                                            individual         debtor.       If a joint petition               is filed,   each spouse                    must complete                                    a
     (To be completed                  by every

                                                          and signed           by the debtor           is attached         and made              a   part of this petition.
       M       Exhibit         D completed

     If this    is a joint petition:

                                                                    and signed          by the joint debtor               is attached            and made             a    part of this petition.
        0 Exhibit              D    also completed

                                                                                                      Information               Regarding             the Debtor                    -   Venue
                                                                                                                     (Check          any applicable                  box)
                                                                                                                                                   in this District for 180
                                                                                             principal place of business, or principal assets
                   E                Debtor has been domiciled or has had a residence,                                                     than  in any other District.
                                                                                                                         such  180  days
                                    days immediately     preceding the date of this petition or for a longer part of
                                                                                                                                        pending in this District.
                                    There is a bankruptcy     case concerning debtor's affiliate, general partner, or partnership
                    0                                                                                                                                 in the United States in
                                                                                             its principal   place of business or principal assets
                    0               Debtor is a debtor in a foreign proceeding and has                                             is a defendant   in an action or
                                                                                                        in the  United States but
                                    this District, or has no principal place of business or assets                                                  in regard to the relief
                                                                                      District, or the interests of the parties will be served
                                    proceeding [in a federal or state court] in this
                                    sought in this District.
                                                                                                by         Debtor Who Resides as a Tenant of Residential                                                           Property
                                                                        Certification                  a
                                                                                                                 (Check all applicable boxes)
                                                                                                                                                                               residence.           (If box checked,               complete       the following.)
                    El               Landlord             has   a   judgment against             the debtor          for possession                  of debtor's


                                                                     (Name        of landlord        that obtained        judgment)




                                                                       (Address      of landlord)

                                                                                                                                under which the debtor would be permitted to cure
                                     Debtor claims that under applicable     nonbankruptcy law, there are circumstances
                      El
                                                                                                     for possession,   after the judgment   for possession  was entered, and
                                     the entire monetary    default that gave rise to the judgment
                                                                                                                                              due during the 30-day period
                                                                                          with the court of any rent that would become
                      0              Debtor has included in this petition the deposit
                                     after the filing of the petition.
                                                                                     Landlord with this certification.   (I I U.S.C. § 362(l)).
                      El   Case 2:12-bk-16376-GBN
                                     Debtor certifies that he/she has served the                           Doc 1 Filed 07/23/12 Entered 07/23/12 10:25:37                                                                                                               Desc
                                                                                                              Pleading Page 2 of 5
                                                                                                                                                                                                                                                                Page     3

1
    (Official         Form          1)(1   2/1 1)
                                                                                                                                     Name ot Debtor(s):
Voluntary Petition                                                                                                                      DAY, MICHELE

                                                         andfiled       in every     case)
(This page must be completed
                                                                                                                                    atures
                                                                                                                                                                           Signature          of a Foreign      Representative
                                   Signature(s)         of Debtor(s)       (IndividuallJoint)
                                                                                                                                                                                                          provided   in this petition
                                                                                        in this                                         I
                                                                                                                                          declare under penalty                that the information
                                                                                                                                                                                      of perjury
                                                           information      provided
        I
          declare under penalty of perjury that the                                                                                     is true and correct,  that I am the foreign representative        of a debtor in a foreign
        petition is true and correct.                                                                                                                 and that I am authorized     to file this petition.
                                                                primarily    consumer      debts and                                    proceeding,
        [If petitioner is an individual whose debts are                         proceed    under
                            file under chapter   71 1 am aware   that  I
                                                                          may                                                           (Check             only       one box.)
        has chosen to
                                               I 1, United States Code, understand          the relief                                                                                                              15   of title     I 1.   United      States Code.
        chapter 7, 11, 12, or 13 of title                                                                                               171       1
                                                                                                                                                   request             relief in accordance with chapter
                                                                     proceed     under chapter 7.                                                                                                                         II U.S.C.          §   1515   are attached.
        available      under each such chapter, and choose to                                                                                     Certified            copies of the documents   required           by
                                                                                           signs the
        [If no attorney represents       me and no bankruptcy petition preparer
                        have obtained   and read the notice required       by I I U.S.C.     §342(b).
                                                                                                                                                  Pursuant    to I I U.S.C.
                                                                                                                                                                              § 1 51 1, I request   relief in accordance with the chapter
        petition]    I

                                                                                                                                                                                                  certified copy of the order granting
                                                                                                                        Code,
                                                                                                                                                  of title I I specified in this petition. A
                                                                                                      United   States                                                                                      is attached.
                                                                                                                                                                 of the foreign main proceeding
                                                                                             I   1,
            I request      relief in accordance           with the chapter       of title                                                         recognition
            specified        in    this petition.

                                                                                                                                      X
                                                                                                                                              Signature                 of Foreign          Representative
    X
            Siinature of Debtor                      MICIHELE          DAY

                                                                                                                                              Prime               I
                                                                                                                                                                      Name        of Foreign       Representative
    X
             Signature             of Joint Debtor
                                                                                                                                              Date
              480-354-8611
                                                    (If not represented         by attorney)                                                               Signature              of Non-Attorney          Bankruptcy           Petition Preparer
             Telephone Number
                                                                                                                                                                                                  (1) I am a bankruptcy petition
                                                                                                                                              I declare under penalty of perjury that:
                                                                                                                                                                                                                        this document       for
                                                                                                                                              preparer   as defined in
                                                                                                                                                                           I I
                                                                                                                                                                                 U.S.C. § I 10; (2) 1 prepared
             Date                                                                                                                                                                          the debtor with a copy of this document
                                                                                                                                              compensation       and have provided
                                                                                                                                                                                         required    under I I U.S.C. §§
                                                                                                                                                                                                                                   1
                                                                                                                                                                                                                                     10(b),
                                                     Signature         of Attorney                                                            and the notices and information
                                                                                                                                                                                                                  have been promulgated
                                                                                                                                              I
                                                                                                                                                10(h), and 342(b); and, (3) if rules or guidelines
                                                                                                                                                                           §   I
                                                                                                                                                                                 10(h) setting a maximum            fee for services
                                                                                                                                              pursuant    to I I U.S.C.
                                                                                                                                                                                                            I
                                                                                                                                                                                                              have given the debtor notice
    X Debtor not rDl2resented                                  b   r
                                                                       attorney                                                               chargeable     by bankruptcy petition          preparers,
                                                                                                                                                                                                                              for filing for a
                                                                                                                                                                     amount before preparing            any document
              Signature             of Attorney        for Debtor(s)                                                                          of the maximum                                                                in that section.
                                                                                                                                                           accepting           fee  from   the  debtor,    as  required
                                                                                                                                              debtor or                 any
                                                                                                                                              Official Form 19 is attached.
              Printed        Name          of Attorney      for Debtor(s)
                                                                                                                                                      Mark Bluerrike
                                                                                                                                                                                   and title, if any, of Bankruptcy                 Petition        Preparer
                                                                                                                                                  Printed             Name
              Firm Name
                                                                                                                                                      AZCLDP               #   80027
                                                                                                                                                      §_o@cial-Sec@urity
                                                                                                                                                                          number (If the bankrutpcy       petition preparer is not
                                                                                                                                                                        state the Social Security     number     of the officer,
                                                                                                                                                      an individual,
                                                                                                                                                                   responsible               partner   of the  bankruptcy     petition
                                                                                                                                                      principal,                 person  or
                                                                                                                                                      preparer.)(Required      by II  U.S.C.   §
                                                                                                                                                                                                  II 0.)
              Address




                                                                                                                                                      60 E. Rio Salado Parkway,                              Suite 900
              Telephone               Number                                                                                                          Tempe, AZ 85281
                                                                                                                                                      Add                                   2041
               Date
                                                                                  also constitutes                              a
              *In a case in which
                                     § 707(b)(4)(D)      applies, this signature
                                                                       after an inquiry that the
                                                                                                                                        X
              certification that the attorney has no knowledge
              information   in the schedules    is incorrect.                                                                                                           -7             -7

                                                                                                                                                       Date
                                    Signature         of Debtor        (Corporation/Partnership)                                                                                                                                          responsible
                                                                                                                                                       Signature          of bankruptcy        petition preparer or officer, principal,
                                                                                                                                                                                               Social Security number     is provided   above.
                                                                                                                                                                          partner    whose
                                                                                 provided     in this                                                  person,or
               I
                 declare        penalty of perjury that the information
                                   under
                                               and that    I
                                                             have   been authorized    to file this petition                                                                         numbers  of all other individuals   who prepared                                        or
               petition   true and
                              is    correct,                                                                                                           Names and Social-Security                                                                                              is
                                                                                                                                                                             this document   unless the bankruptcy     petition preparer
               on behalf of the debtor.                                                                                                                assisted in preparing
                                                                 with the chapter of title I 1, United                                                 not an individual:
               The debtor requests relief in accordance
               States Code, specified    in this petition.




                   Signature          of Authorized         Individual
                                                                                                                                                                                             this document, attach additional                                  sheets
                                                                                                                                                        If more than one person prepared
                                                                                                                                                        conforming   to the appropriate official form for each person.

                   Printed         Name      of Authorized         Individual
                                                                                                                                                                                                      to comply with the provisions                                 of
                                                                                                                                                       A    bankruptcy petition preparer'sfailure
                                                                                                                                                        title I I and the Federal Rules of Bankruptcy      Procedure may result in
                                                      Individual                                                                                                   imprisonment  or both.  II  U.S.C. §1 10; 18 U.S.C. §156.
                   Title of Authorized                                                                                                                 fines or


                   Date           Case 2:12-bk-16376-GBN                                              Doc 1 Filed 07/23/12 Entered 07/23/12 10:25:37                                                                                               Desc
                                                                                                         Pleading Page 3 of 5
B   ID (Official      Form        1,      Exhibit     D)    (12/09)

                                                                                     United States Bankruptcy Court
                                                                                                      District of Arizona
                                                                                                                                    Case No.
    In re        MICHELE                     DAY                                                                                               7
                                                                                                              Debtor(s)             Chapter




                                                                     OF COMPLIANCE                                                                   WITH
                          EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT
                                           CREDIT COUNSELING REQUIREMENT
                                                                         five statements regarding credit
        Warning: You must be able to check truthfully one of the
                                                              eligible to file a bankruptcy case, and the court
counseling listed below. If you cannot do so, you are not                                            and your
                                                      you will lose whatever filing fee you paid,
can dismiss any case you do file. If that happens,                                    is dismissed and you file
                                                         against you. If your case
creditors will be able to resume collection activities                                                        take
                                                                   a second filing fee and you may have to
another bankruptcy case later, you may be required to pay
extra steps to stop creditors' collection activities.
                                                                                                                       complete
                                                                D. If ajoint petition isfiled, each spouse must
              Every individual debtor mustfile this Exhibit                                                           directed.
                                                                            below and attach any documents as
    andfile a separate Exhibit D. Check one of thefive statements
                                                                                           I received a briefing from a credit
              0 1. Within the 180 days before the filing of my bankruptcy case,
                                                                        bankruptcy administrator that outlined the
    counseling agency approved by the United States trustee or
                                                                         in performing a related budget analysis, and have
                                                                                                                              I
    opportunities for available credit counseling and assisted me
                                                                                                      the certificate and a copy
                                                 the services provided to me. Attach a copy of
    a certificate from the agency describing
                                                          the agency.
    of any debt repayment plan developed through
                                                                                                                    from a credit
                                                                                     case, I received a briefing
              0 2. Within the 180 days before the filing of my bankruptcy
                                                                        bankruptcy administrator that outlined the
    counseling agency approved by the United States trustee or                                                                I do
                                                                          in performing a related budget analysis, but
     opportunities for available credit counseling and assisted me
                                               describing the services provided to me. You mustfile a copy of a
     not have a certificate from the agency
                                                                                 and a copy of any debt repayment plan
     certificateftom the agency describing the services provided to you
                                                                             bankruptcy case isfiled.
     developed through the agency no later than 14 days after your
                                                                                       approved agency but was unable to
               11 3. certify that I requested credit counseling services from an
                                  1


                                                                   I made my request, and the following exigent
     obtain the services during the seven days from the time
                                                          credit counseling requirement so I can file my bankruptcy case
     circumstances merit a temporary waiver of the
                                                   here.]
     now. [summarize exigent circumstances                                                              _
                                                                                                                                                    counseling briefing
             If your certification                                     is satisfactory               to the court, you must still obtain the credit
                                                                                                                   petition and promptly file a certificate from the
     within the first 30 days after you file your bankruptcy                                        developed
                                                      with a copy of any debt management plan
     agency that provided the counseling, together
                                                                       result in dismissal of your case. Any
     through the agency. Failure to fulfill these requirements may                                        15 days.
                                                                         and is limited to a maximum of
     extension of the 30-day deadline can be granted only for cause
                                        if the courtis not satisfied with your reasons for filing your bankruptcy
     Your case may also be dismissed
     case without first receiving a credit
                                            counseling briefing.

                                                       counseling briefing because of- [Check the applicable
                   am not required to receive a credit
                     13      4.       1


                                                          determination   by the court.]
     statement.] [Must be accompanied by a motionfor                                                       Best Case Bankruptcy
                              (c)         1996-2012   CCH     INCORPORATED       www.bestcase.corn
      Software   Copyright                                                   -




                    Case 2:12-bk-16376-GBN                                                  Doc 1 Filed 07/23/12 Entered 07/23/12 10:25:37                  Desc
                                                                                               Pleading Page 4 of 5
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                                   1,   Exhibit    D) (I 2/09)       Cont.
B   ID (Official       Form                                      -


                                                                  I I U.S.C.                                    §109(h)(4) as impaired by reason of mental illness or
                                        0 Incapacity. (Defined in
                mental deficiency so as to be incapable                                                  of realizing, and making, rational decisions with respect to
                financial responsibilities.);
                                                                                           impaired to the extent of being
                         El Disability.  (Defined in I I U.S.C. § 109(h)(4) as physically
                                                                      credit counseling briefing in person, by telephone, or
                unable, after reasonable effort, to participate in a
                through the Internet.);
                                                             combat zone.
                        0 Active military duty in a military
                                                                                                                                       has determined   that the credit counseling
                 Ei     5.    The United States trustee or bankruptcy administrator
requirement                   of I I U.S.C. § 109(h) does not apply in this district.
                                                                                                                                   provided above is true and correct.
                 I certify                under penalty of perjury that the information

                                                                        Signature                  of Debtor:
                                                                                                                       MICHELE   DAY       f)

                                                                                                        2- -,   2-C,
                                                                        Date:
                                                                                                                       i
                                                                                                                           Z




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